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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

Rosendin Holdings, Inc., et al.
Plaintiff

Vv.

 

Civil Action No.

ATI Trucking, LLC, et al.
Defendant

 

CERTIFICATE OF INTERESTED PERSONS
(This form also satisfies Fed. R. Civ. P. 7.1)

Pursuant to Fed. R. Civ. P. 7.1 and LR 3.1(c), LR 3.2(e), LR 7.4, LR 81.1(a)(4)(D), and LR 81.2,

Defendant Greentree Transportation Company

 

provides the following information:

For a nongovernmental corporate party, the name(s) of its parent corporation and any
publicly held corporation that owns 10% or more of its stock (if none, state "None"):
*Please separate names with a comma. Only text visible within box will print.

None

A complete list of all persons, associations of persons, firms, partnerships, corporations,
guarantors, insurers, affiliates, parent or subsidiary corporations, or other legal entities that are
financially interested in the outcome of the case:

*Please separate names with a comma. Only text visible within box will print.

ATI Trucking LLC, Greentree Transportation Company, Transport Investments Inc., Transport
Acquisition Inc., Transport Investments Delaware Inc., Transport Holdings LLC, The Hartford,
Chester Sullivan Jr. d/b/a Sullivan Trucking, Rosendin Holdings Inc., Modular Power Solutions
LLC, Brown & Fortunato P.C., Jared Barton, Matthew Sherwood, Benesch Friedlander Coplan
& Aronoff LLP, Marc Blubaugh, Nicholas Lacie, Munck Wilson Mandala LLP, Patrick
Whitaker
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Date: September 16, 2021
Signature:

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NOTE: To electronically file this document, you will find the event in our Case Management (CM/ECF) system, under Civil/Other
Documents/Certificate of Interested Persons
